       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 1 of 21




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                             Complainant,
            v.
                                                              Criminal Case No.
ZACHARY REHL
                                                              1:21-cr-00175-TJK-3

(Styled as USA v. NORDEAN incorporating cases
against four Defendants collectively)


                             Accused


            MEMORANDUM OF LAW IN SUPPORT OF ZACHARY REHL’S
                   MOTION FOR BILL OF PARTICULARS

       Comes now the Accused ZACHARY REHL, by counsel, and hereby files this

Memorandum of Law in support of his Motion for a Bill of Particulars pursuant to Federal

Rule of Criminal Procedure 7(f), and for his reasons states as follows, by counsel:

I.     CONTEXT FOR THIS MOTION

       1.        In a bail hearing for release of the Accused ZACHARY REHL, a Proud Boys

member, from pre-trial detention hearing in the U.S. District Court for the Eastern District of

Pennsylvania, the prosecution conceded in proper candor:

                   To be sure, the indictment does not allege that Mr. Rehl
                   engaged directly in violence against officers or
                   destruction of property but there is, nonetheless, a
                   presumption in favor of detention based on his liability
                   for his co-conspirators destruction of property.

Assistant U.S. Attorney Luke M. Jones, Esq., Page 3, Transcript of Detention/Rule 5
Hearing Before Honorable Richard A. Lloret, United States Magistrate Judge, U.S. District
Court for the Eastern District of Pennsylvania, March 26, 2021, Case No. 2:21-mj-526-1,
filed publicly as ECF Docket # 9.
        Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 2 of 21




        2.      The Accused ZACHARY REHL is being prosecuted almost exclusively for the

actions of others, and not his own actions, based on a theory of vicarious liability through

unidentified aiding and abetting and one count of conspiracy, except that he is alleged to have

stepped into the U.S. Capitol building when the January 6, 2021, Joint Session of Congress was

no longer a proceeding in progress, but had recessed at 2:18 PM. See, “Counting Electoral

Votes--Joint Session Of The House And Senate Held Pursuant To The Provisions Of Senate

Concurrent Resolution 1,” Congressional Record Vol. 167, No. 4, (House of Representatives -

January 06, 2021). Therefore, there was no proceeding to be obstructed.

        3.      Because REHL is accused of aiding and abetting others, the indictment fails even

the unforgiving standard applied by the Honorable Amit P. Mehta in a parallel case, to deny most

requests for a bill of particulars.

        4.      That is, because REHL is primarily charged with organizing or encouraging

others to do what he himself did not personally do, the number of incidents is potentially from

the 10,000 people that the U.S. Capitol Police estimated to be around the U.S. Capitol on the

afternoon of January 6, 2021, to as many as 1 million attending all of the different events.

        5.      Following Judge Mehta’s reasoning, a bill of particulars is required where the

number of different acts is not identified in the indictment, and potentially unlimited.

        6.      Mehta focused on the number of potential victims, but the same reasoning applies

to the number of people aided and abetted or conspired with.

        7.      The Accused ZACHARY REHL has been indicted as part of a group of four co-

Defendants in a common indictment lumping all four Defendants together.

        8.      The indictment is an “ink blot test.”

        9.      The indictment does not actually allege most of the required elements of the




                                                  2
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 3 of 21




crimes that the Accused Zachary Rehl is charged with.

       10.    The gaps speak louder than the words in the indictment.

       11.    In Paragraphs 16 of the First Superseding Indictment, the allegations say that

(emphases added):

                 16. At 12:53 p.m., a group of people forcibly breached the
                 barriers at the pedestrian entrance. A crowd followed,
                 including NORDEAN, BIGGS, REHL, and DONOHOE .
                 Members of the crowd charged past the trampled police
                 barriers.

       12.    Note how incredibly vague “a group of people” is.

       13.    But the indictment alleges that ZACHARY REHL entered the U.S. Capitol at

2:53 PM on January 6, 2021.

                 67. REHL entered the Capitol at approximately 2:53
                 p.m. through the same door first entered by BIGGS on
                 the west side of the building.

       14.    Taking the indictment at face value without outside facts, the unidentified

“crowd” at 12:53 PM was “followed” by REHL two (2) hours later.

       15.    The new Chief of the U.S. Capitol Police, Thomas Manger, as one of the

government entities bringing the complaint against these Defendants in this case, admitted and

confessed among other things, at time stamp 00:18:10:

                 In terms of how we engage, we handle multiple
                 demonstrations at the Capitol and Supreme Court every
                 day. Every day. Multiple demonstrations.

“U.S. Capitol Police News Conference on "Justice for J6" Rally” was recorded and broadcast
live by C-SPAN, and is permanently recorded for viewing at: https://www.c-
span.org/video/?514736-1/us-capitol-police-prepare-threats-violence-justice-j6-rally

       16.    And again at time stamp 00:20:09

                 We have multiple demonstrations every day.




                                               3
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 4 of 21




       17.     This sounds like hyperbole, but the point is not whether it is literally true “every

day” but the awareness of the complaining agency that more than one thing happens at the same

building on most days, including that “multiple" things happened on January 6, 2021.

       18.     Thus, the First Superseding Indictment is fatally flawed and impermissibly vague.

       19.     We are invited to mistakenly believe that everyone who travelled to Washington,

D.C. for the January 6, 2021, events all with stunning uniformity came with only one single,

unitary, solitary purpose: To beat on police and break windows. No one had any other, different

plan in mind or purpose. “We know that ‘those people’ are all the same.” Such an argument

borne of prejudice (pre-judging) cannot sustain a conviction.

       20.     REHL is accused of involvement in the over-whelmingly peaceful demonstrations

protected by the First Amendment to the United States as to the right of free speech, the right to

peacefully assemble, and the right to petition the government for redress of grievances, which for

a few deteriorated into violent confrontations with U.S. Capitol Police officers and others.

       21.     REHL is accused almost exclusively of saying on social media that he was going

to travel to “the Stop the Steal protest” and wondering if anyone else also wanted to go too.

       22.     But without the indictment identifying what a “STOP THE STEAL” is the

indictment fails on most counts.

       23.     There was no entity named “Stop The Steal” nor any event formally named “the

Stop The Steal protest.”

       24.     The indictment must identify what exactly Rehl told people he was going to

attend and asking if they wanted to go to. If the grand jury does not know, the indictment fails.

       25.     Rehl never “encourage[ed]” anyone to go to or “attack” the U.S. Capitol, because

that’s not what “the Stop the Steal protest” ever meant.




                                                 4
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 5 of 21




       26.     It may seem incomprehensible or even offensive to say that vastly different events

unfolded at different locations around this massive building. The building is 751 feet long. 1
                                           2                                                          3
The U.S. Capitol grounds are 126 acres.        It is the length of a small ocean-going cruise ship.

       27.     What happened in some places is not what happened at other places.

       28.     As a result, it matters that the allegations are clear.

       29.     As even the Anti-Defamation League grudgingly admits, the Proud Boys are a

fraternity primarily organized to watch sports on TV or live and consume adult beverages. 4

       30.     In recent years upon seeing violence committed by Left-wing thugs, the Proud

Boys have come to see themselves (when not watching sports on TV with beer) as defending

otherwise vulnerable conservative demonstrators from long-running political violence by left-

wing thugs like ANTIFA. The Proud Boys do not typically demonstrate themselves but instead

protect demonstrators. The Proud Boys are not themselves political demonstrators or activists.5

       31.     What these Defendants are accused of in this case is dramatically inconsistent

with and out of step with what the Proud Boys do. They stand against political violence by the


1      Architect of the Capitol, https://www.aoc.gov/explore-capitol-campus/buildings-
grounds/capitol-building
2      “Our History,” U.S. Capitol Police, https://www.uscp.gov/the-department/our-
history
3      The “Viking Star” ocean-going cruise ship is 745 feet long – shorter than the length
of the massive U.S. Capitol. https://www.vikingcruises.com/oceans/ships/viking-star.html
4
       Although couched within an extremely slanted and false hit piece by the Anti-Defamation
League (“ADL”) even the ADL had to admit that (clarification added in brackets):
            In [co-founder] McInnes’ own words, the Proud Boys are a “pro-western
            fraternity,” essentially a drinking club dedicated to male bonding,
            socializing and the celebration all things related to western culture.
“Bigotry: Proud Boys,” https://www.adl.org/resources/backgrounders/proud-boys-0
5      McInnes previously filed a defamation lawsuit against the Southern Poverty Law
Center for falsely smearing the group as a hate group. See, Bijan Stephen, "Gavin McInnes is
suing the SPLC for defamation," The Verge, February 4, 2019,
https://www.theverge.com/2019/2/4/18211275/gavin-mcinnes-southern-poverty-law-
center-defamation-lawsuit

                                                   5
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 6 of 21




likes of ANTIFA to defend the rights of free speech by patriots and conservatives. They rarely if

ever demonstrate themselves to publicize their own message(s). That’s not what they do.

II.    GOVERNING LEGAL STANDARD

       32.     The Honorable Amit P. Mehta, District Court Judge recently on September 14,

2021, decided a combination motion to dismiss and in the alternative motion for bill of

particulars in United States of America vs. Thomas Caldwell, Case No. 21-cr-28 (APM), also

arising from the events on January 6, 2021. 6

       33.     Judge Mehta issued an Omnibus Order on September 14, 2021, filed at ECF

Docket # 415, in Case No. 1:21-cr-00028-APM.

       34.     Judge Mehta explained on pages 8-9 of the Omnibus Order.

                  The United States argues that “[a]n indictment need not
                  provide the name of the victim.” Gov’t’s Omnibus Opp’n to
                  Defs.’ Mots. to Dismiss & for Bill of Particulars, ECF No.
                  313 [hereinafter Gov’t’s Opp’n], at 39.

                  But the cases it relies on for this proposition do not consider
                  a situation in which there were numerous unidentified
                  potential victims. See United States v. Miller, 883 F.3d 998,
                  1003 (7th Cir. 2018) (noting “the government provided [the
                  defendant] with the names of the victims in pretrial
                  disclosures”); United States v. Mendez-Colon, 417 Fed.
                  App’x 320, 322 (4th Cir. 2011) (finding no risk of double
                  jeopardy on plain error review because “the record makes it
                  clear the charged conduct related to the assaults of the two
                  inmates and specifies the count relating to each inmate”).

                  And the United States’ citation to United States v. Figueroa
                  is no more helpful because the defendant in that case did not
                  argue that the indictment failed to identify his victim but
                  rather that the indictment failed to explicitly cross-reference
                  a statute. See No. 14-cr-672 (SRC), 2021 WL 1661202, at
                  *8–9 (D.N.J. Apr. 28, 2021).



6     Counsel here, Jonathon Moseley, sponsored pro hac vice Philadelphia lawyer
Bradford Geyer, Esq. in that group case for Harrelson.

                                                6
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 7 of 21




                 Given that the Fifth Superseding Indictment here refers to
                 multiple officers and multiple potentially assaultive
                 behaviors, the allegations against James are distinct from
                 these cases and require additional information for him to
                 mount a defense and avoid double jeopardy at retrial.

       35.    Judge Mehta also explained on page 8 that:

                 It is unclear whether Count IX charges James with assaulting
                 a single officer or multiple officers. Although Count IX
                 alleges that James “did forcibly assault, resist, oppose,
                 intimidate, or interfere with an officer with the District of
                 Columbia Metropolitan Police Department,” and references
                 “the victim,” Fifth Superseding Indictment ¶ 193 (emphasis
                 added), it also crossreferences paragraphs 165 and 167.
                 Those passages describe a chaotic scene involving a “line of
                 law enforcement officers” and state that James “yanked and
                 pushed several of the riot officers out of the way.” Id. ¶ 165.

                 Thereafter, James “was expelled” from the Rotunda “by at
                 least one officer who aimed chemical spray directly at
                 JAMES, and multiple officers who pushed him out from
                 behind.” Id. ¶ 167. It is not clear which one or more of these
                 officers James is accused of assaulting. Because these
                 allegations refer to a number of officers and detail a number
                 of actions that could constitute assault, James must be
                 apprised of which actions he allegedly took against which
                 officer or officers constitute the assault the government has
                 charged.

       36.    Judge Mehta also recited that:

                 The court has discretion to order a bill of particulars pursuant
                 to Federal Rule of Criminal Procedure 7(f). United States v.
                 Mejia, 448 F.3d 436, 445 (D.C. Cir. 2006). “A bill of
                 particulars can be used to ensure that the charges brought
                 against a defendant are stated with enough precision to allow
                 the defendant to understand the charges, to prepare a
                 defense, and perhaps also to be protected against retrial on
                 the same charges.” United States v. Butler, 822 F.2d 1191,
                 1193 (D.C. Cir. 1987).

       37.    The U.S. Supreme Court explained in Will v. United States, 389 U.S. 90, 97-99,

88 S. Ct. 269, 19 L. Ed. 2d 305, 1967 U.S. LEXIS 2931 (1967):




                                                7
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 8 of 21




                  Suffice it to note that Rule 7 (f) of the Federal Rules of
                  Criminal Procedure specifically empowers the trial court to
                  "direct the filing of a bill of particulars,"[7] and that federal
                  trial courts have always had very broad discretion in ruling
                  upon requests for such bills, compare Wong Tai v. United
                  States, 273 U.S. 77, 82 (1927). Furthermore, it is not
                  uncommon for the Government to be required to disclose the
                  names of some potential witnesses in a bill of particulars,
                  where this information is necessary or useful in the
                  defendant's preparation for trial. See, e. g., United States v.
                  White, 370 F.2d 559 (C. A. 7th Cir. 1966). See also United
                  States v. Debrow, 346 U.S. 374, 378 (1953).

       38.     In United States v. Thevis, 474 F. Supp. 117 Crim. No. C78-180A, Order (N.D.

Ga. June 18, 1979), it is explained:

                  The purpose of a Bill of Particulars is to more specifically
                  define the charge set forth in the indictment, so that the
                  defendant is apprised of the charges against him with
                  sufficient clarity in order to allow him the opportunity to
                  prepare his defense and to obviate prejudicial surprise to the
                  defendant at trial. The Bill has an additional purpose in that
                  further clarity may allow the defendant to raise a double
                  jeopardy defense, if applicable. United States v. Mackey, 551
                  F.2d 967 (5 C.A.1977).

                  In essence, the question presented by a motion for a Bill of
                  Particulars requires a two part analysis. If the particular
                  requested is such that on its face its nondisclosure until trial
                  would result in prejudicial surprise to the defendant or the
                  preclusion of an opportunity for meaningful defense
                  preparation, then the request must be granted. See, United
                  States v. Bearden, supra at 809. United States v. Sullivan,
                  421 F.2d 676 (5 C.A.1970); Hickman v. United States, 406
                  F.2d 414 (5 C.A.1969); 1 Wright, Federal Practice &
                  Procedure § 129 (1969).

       39.     As the Western District of New York, stated in United States of America v. Colin

Greenaway also known as Wayne Smart, United States District Court, W.D. New York, Case

No. 07CR29S, Order, October 22, 2008:

                  Rule 7(f) of the Federal Rules of Criminal Procedure
                  provides that the Court may direct the filing of a Bill of



                                                 8
        Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 9 of 21




                   Particulars. Bills of Particulars are to be used only to protect
                   a defendant from double jeopardy and to enable adequate
                   preparation of a defense and to avoid surprise at trial. U.S. v.
                   Torres, 901 F.2d 205 (2d Cir. 1990). The government is not
                   obligated to "preview its case or expose its legal theory" U.S.
                   v. LaMorte, 744 F.Supp 573 (S.D.N.Y. 1990); U.S. v.
                   Leonelli, 428 F.Supp 880 (S.D.N.Y. 1977); nor must it
                   disclose the precise "manner in which the crime charged is
                   alleged to have been committed" U.S. v. Andrews, 381 F.2d
                   377 (2d Cir. 1967). Notwithstanding the above, there is a
                   special concern for particularization in conspiracy cases.
                   U.S. v. Davidoff, 845 F.2d 1151 (2d Cir. 1988).

       40.     Counsel for REHL is aware of the similar motions raised and decided by other

Defendants arising from the same events, and is aware of decisions denying motions to dismiss

and motions for bills of particular.

       41.     While respecting the authority and role of a court to make those decisions, it is

counsel’s responsibility to make the best argument for his client including to make a record.


III.   ARGUMENT – COUNT BY COUNT

       42.     The Accused ZACHARY REHL is charged with six counts by the grand jury’s

First Superseding Indictment, four (4) of which counsel contends require clarification by a bill

of particulars or in the alternative dismissal (to be addressed in a separate motion):

       43.     The first count being the longest, counsel attempts to dispense with the shorter

arguments first:

             A. AIDING AND ABETTING “IN THE AIR” = INCITEMENT

       44.     One would fear that the grand jury is indicting REHL for aiding and abetting “in

the air” so to speak, without identifying anyone one in particular that was aided or abetted.

       45.     Aiding and abetting no one in particular is governed by the precedents on

incitement – encouraging a crowd or the public in general to do an act – under U.S. Supreme




                                                  9
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 10 of 21




Court precedents. Brandenburg v. Ohio, 395 U.S. 444 (1969) (speech advocating illegal conduct

is protected under the First Amendment unless the speech is likely to incite “imminent lawless

action.); NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982) (comments about future

possible violence – “anyone who breaks the boycott, I will break your neck” (advocating for

everyone listening in the crowd to do the same) -- are free speech protected under the First

Amendment to the U.S. Constitution).

       46.      However, it is not possible to accidentally or inadvertently aid and abet.

       47.      To convict as a principal of aiding and abetting the commission of a crime, a jury

must find beyond a reasonable doubt that the defendant knowingly and intentionally aided and

abetted the principal(s) in each essential element of the crime. United States v. Bancalari, 110

F.3d 1425, 1429 (9th Cir. 1997). The government must prove that the defendant associated with

the criminal venture, purposefully participated in the criminal activity, and sought by his actions

to make the venture successful. United States v. Landerman, 109 F.3d 1053, 1068 n.22 (5th Cir.

1997); United States v. Griffin, 84 F.3d 912, 928 (7th Cir.), cert. denied, __ U.S. __, 117 S.Ct.

495, 136 L.Ed.2d 387 (1996);” See, "2474. Elements Of Aiding And Abetting," Criminal

Resource Manual » CRM 2000 - 2500 » Criminal Resource Manual 2401-2499, U.S. Department

of Justice, accessible at: https://www.justice.gov/archives/jm/criminal-resource-manual-2474-

elements-aiding-and-abetting

       48.      Therefore, one cannot aid and abet truly unknown persons (a crowd or someone

out there in the ether) consistently with the knowingly and intentionally mens rea requirement.

             B. COUNT II: Obstruction of an Official Proceeding and Aiding and Abetting

       49.      Notably, there is no allegation that REHL committed any act whatsoever in which

he




                                                 10
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 11 of 21




                  attempted to, and did, corruptly obstruct, influence, and
                  impede an official proceeding, and did aid and abet
                  others known and unknown to do the same; that is,
                  NORDEAN, BIGGS, REHL, and DONOHOE entered
                  the Capitol grounds or the Capitol building to, and did,
                  stop, unlawfully delay, and hinder Congress's
                  certification of the Electoral College vote.

       50.     As noted, the indictment alleges that Congress recessed at 2:20 PM (actually it

was 2:18 PM per the Congressional Record) but that REHL entered the building at 2:53 PM.

       51.     Thus, by the indictment’s own self-contradiction, REHL did not in fact stop,

delay, or hinder Congress’ certification of the Electoral College vote.

       52.     This raises same problem that Judge Mehta addressed in USA v. Caldwell.

       53.     REHL is accused of aiding and abeting an unknown, open-ended cloud of people

“known and unknown.”

       54.     Also, how exactly did anyone obstruct, delay, or hinder Congress?

       55.     News reports at the time were that Congress recessed because of reports of pipe

bombs in the area (later reported as being at the RNC headquarters about 4 blocks away and

DNC headquarters about 6 or 7 blocks away.

       56.     The Congressional Record reports that the U.S. Capitol Police recommended that

the Congress recess. But, why, exactly?

       57.     The allegation is that “someone” did “unlawfully delay, and hinder Congress's

certification of the Electoral College vote.”

       58.     Do numbers alone transform a “lawful” First Amendment demonstration into an

“unlawful” one that would spark a recommendation to Congress to recess?

       59.     Is the grand jury referring to the few people who unconscionably beat on police

officers and broke windows, that the violence persuaded Congress to recess?




                                                11
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 12 of 21




        60.      But what does that have to do with ZACHARY REHL?

        61.      How exactly did ZACHARY REHL obstruct, or “unlawfully delay, and hinder

Congress's certification of the Electoral College vote” when he is alleged to have entered the

building at 2:53 PM after the Joint Session of Congress recessed at 2:20 PM?

        62.      Did REHL have any connection whatsoever to those who attacked police or broke

windows, including aiding and abetting, conspiracy, or otherwise?

        63.      No facts are alleged beyond conclusory statements inadequate for an indictment.

        64.      There is no allegation that REHL ever spoke in a loud voice that day.

        65.      Again the indictment alleges that people unlawfully delayed or hindered

Congress. Calling on Congress to do the certification in a certain way, such that it gave

Members of Congress pause, would be a petition for redress of grievances protected by the First

Amendment.

        66.      Therefore, as Judge Mehta ordered, the prosecution should be ordered to provide

a bill of particulars specifying

              A. Who exactly REHL is alleged to have aided and abetted, if not only the other

                 three Defendants in this case?

              B. How REHL is alleged to have aided and abetted each of them?

              C. How any action by REHL or the other Defendants in this case or anyone whom

                 REHL aided and abetted obstructed, delayed or hindered Congress’ certification

                 of the disputed Electoral College vote? (Note: Not how others unrelated to

                 REHL who attacked police or broke windows did so. How did REHL or those

                 REHL conspired with obstruct, stop, hinder, or delay the Congressional session?)

              D. Why did Congress recess? Because of reports of pipe bombs? Because of rioters




                                                  12
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 13 of 21




                having no connection whatsoever to ZACHARY REHL beating on police and

                breaking windows? Exactly how did anything related in any way whatsoever to

                ZACHARY REHL obstruct, delay, or hinder the Joint Session of Congress?

       67.      If the prosecution’s position is that the indictment contains the full universe of

available facts, and there will be no other facts forthcoming, so be it.

             E. COUNT III: Obstruction of Law Enforcement During Civil Disorder
                and Aiding and Abetting.

       68.      Notably, once again, there is no allegation that REHL committed any overt act

whatsoever in which he

                   committed and attempted to commit an act to obstruct,
                   impede, and interfere with law enforcement officers
                   lawfully engaged in official duties incident to and during
                   the commission a civil disorder

       69.      Recall that the indictment alleges in Paragraph 16 that “a group of people”

approached the entrance when there were law enforcement at the barricades. But that was 2

hours before REHL entered, taking the allegations of the indictment alone on their own terms.

       70.      And once again, this creates an unknown and unbounded number of possibilities –

exactly as Judge Mehta found required a bill of particulars in USA v. Caldwell.

       71.      The prosecution should be ordered to identify by a bill of particulars (a) exactly

who REHL supposedly aided and abetted to obstruct, impede, or interfere with law enforcement

and (b) exactly how.

       72.      Otherwise, as Judge Mehta ruled, REHL would face double jeopardy problems

and could not adequately prepare for trial.

       73.      If the prosecution’s position is that the indictment contains the full universe of

available facts, and there will be no other facts forthcoming, so be it.




                                                  13
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 14 of 21




             F. COUNT IV: Destruction of Government Property and Aiding and
                Abetting under 18 U.S.C. 1361, 2

       74.      Notably, once again, there is no allegation that REHL committed any overt act

whatsoever in which he personally

                   attempted to, and did, willfully injure and commit
                   depredation against property of the United States, and
                   did aid and abet others known and unknown to do so;

       75.      Because REHL did not personally do anything of that nature and is not alleged to

have done so he could only be accused of aiding and abetting others.

       76.      And once again, this creates an unknown and unbounded number of possibilities –

exactly as Judge Mehta found required a bill of particulars in USA v. Caldwell.

       77.      The prosecution should be ordered to identify by a bill of particulars (a) exactly

who REHL supposedly aided and abetted to damage any property and (b) exactly what property

those who were aided and abetted are alleged to have damaged, (c) how this was a knowing and

intentional act by REHL, and (d) because the allegation appears to be some mystical

metaphysical concept of injury exactly how. 7

       78.      Otherwise, as Judge Mehta ruled, REHL would face double jeopardy problems

and could not adequately prepare for trial.

       79.      If the prosecution’s position is that the indictment contains the full universe of

available facts, and there will be no other facts forthcoming, so be it.



7       In another case, the prosecution resists a bill of particulars by arguing that the
“property” is the U.S. Capitol building. That is, if a parent broke a glass counter at one of
two gift shops requiring $300 in repair costs, the government’s position is that the person
has damaged the entire building worth more than $1,000 ($133 million in non-inflation
adjusted dollars according to the Architect of the Capitol), not a $300 piece of counter glass
inside the building. The government claims this as damaging a building worth over $1,000.

                                                  14
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 15 of 21




             G. COUNT I: Conspiracy under 18 U.S.C. § 371

       80.      It is not possible to accidentally or inadvertently conspire with someone.

       81.      The group indictment alleges in Paragraph 27:

                                    Objects of the Conspiracy

                   27. The objects of the conspiracy were (1) to stop, delay,
                   or hinder Congress's enforcement certification of the
                   Electoral College vote, and (2) to obstruct and interfere
                   with law officers engaged in their official duties to protect
                   the Capitol and its occupants from those who had
                   unlawfully advanced onto Capitol grounds.

       82.      REHL is alleged to have entered into a conspiracy “(1) to stop, delay, or hinder

Congress's certification of the Electoral College vote…”

       83.      Unlike if a group of people said “Let’s go rob a bank” and I answered “Great, I’ll

bring the donuts,” there is no allegation that REHL ever agreed upon a plan “to stop, delay, or

hinder Congress's certification of the Electoral College vote…”

       84.      Petitioning Congress for redress of grievances that the Congress should

investigate, review, and resolve disputes about the accuracy of the Electoral College votes

clearly is something else entirely different, and protected by the First Amendment.

       85.      “Stop[ping], delay[ing], or hinder[ing] Congress’ certification of the Electoral

College vote” could not possibly make Donald Trump the President (again starting in 2021).

       86.      Demanding that Congress do its job – its entire job -- and not half of the job,

could theoretically make Donald Trump the President, but that is not a criminal goal.

       87.      A bill of particulars should order details of when or how REHL knowingly and

intentionally or purposefully entered into an agreement of a criminal goal to “(1) to stop, delay,

or hinder Congress's certification of the Electoral College vote…”

       88.      Next, REHL is alleged that he entered into a conspiracy “(2) to obstruct and



                                                 15
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 16 of 21




interfere with law enforcement officers engaged in their official duties to protect the

Capitol and its occupants from those who had unlawfully advanced onto Capitol grounds.”

       89.     Following Judge Mehta’s analysis, the Court should order that the prosecution

(identify by bill of particulars (a) which conspirators REHL supposedly entered into a conspiracy

with to obstruct or interfere law enforcement officers, and (b) how the conspiracy that REHL is

allegedly involved in (not other people) obstructed or interfered with law enforcement officers.

       90.     There is no allegation of fact in the indictment that REHL – the son and grandson

of police officers in his family – ever knowingly and intentionally and/or purposefully entered

into any agreement to do any such thing.

       91.     If there ever was such a conspiracy, it never included REHL.

       92.     In Paragraph 28, the indictment accuses REHL of:

                  a. Encouraging members of the Proud Boys and others to
                  attend the Stop the Steal protest in Washington, D.C., on
                  January 6, 2021;

       93.     But…. which Proud Boys?

       94.     How many Proud Boys did he encourage?

       95.     Worse, which “and others?”

       96.     Did REHL encourage any “Proud Boys” or “others” to attend peaceful protests

nowhere near the U.S. Capitol?

       97.     But because the number of potential encouragees is unbounded, Judge Mehta’s

analysis would require a bill of particulars on this point.

       98.     Under Judge Mehta’s analysis, the prosecution must specify which Proud Boys or




                                                  16
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 17 of 21




others REHL is accused of encouraging.8

       99.     However, the indictment has failed to define or identify what a “Stop the Steal

protest” is -- a stunning omission.

       100.    As with Judge Mehta’s analysis in USA v. Caldwell, the existence of multiple

“Stop the Steal protests” means that REHL is faced with unknown numbers of charges and the

possibility of double-jeopardy.

       101.    The case against these Defendants collapses once we open our eyes to the fact that

“Stop the Steal” never meant breaking into the U.S. Capitol or beating up police.

       102.    Furthermore, in Paragraph 28, the indictment accuses REHL of:

                  d. Scheming to evade detection by law enforcement on
                  January 6· by dressing "incognito" rather than wearing
                  Proud Boys colors that had been prominently displayed
                  at previous events;

       103.    This is a stunning paragraph, because law enforcement tracks criminal acts, not

people. It is not a crime to merely be a Proud Boy member.

       104.    How could anyone scheme to evade detection when they had no obligation to

announce themselves? What does “detection” mean? Law enforcement responds to crime. It

does not criminalize people.

       105.    The indictment has not alleged any duty of anyone to publicly broadcast what

groups they belong to, making it mystifying as to how not dressing provocatively (as some

would see it) is an overt act in furtherance of a conspiracy that sounds in intimidation.

       106.    In fact, an open-minded reading of Enrique Tarrio’s instructions referred to in the

indictment’s Paragraph 12 and Paragraph 45 is plainly the Chair of the Proud Boys dissociating



8      Again, if the allegation is that REHL made a public announcement to no one in
particular, the U.S. Supreme Court’ Brandenburg Test would govern incitement.

                                                 17
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 18 of 21




the Proud Boys as an organization from the (multiple) demonstrations on January 6, 2021.

       107.    Tarrio acknowledged that many of his members would be attending protests but in

an upbeat way made clear that they would be attending as individuals NOT as Proud Boys.

       108.    Therefore, the Court should order a bill of particulars as to how REHL is accused

of committing any crime or furthering a conspiracy by NOT dressing in a paramilitary style

popular in some regions of the country but accused by critics of being intimidating.

       109.    Similarly, REHL is accused of

                  “e. Traveling to Washington, D.C. prior to the January 6
                  attack;”

       110.    REHL is NOT alleged in the “ink blot test” grand jury indictment of “Traveling to

Washington, D.C. to participate in a January 6 attack;”

       111.    Probably a great many things happened “prior to the attack.”

       112.    The prosecution should be ordered to provide a bill of particulars as to how

merely traveling to D.C. along with 500,000 to 1 million other peaceful demonstrators is an overt

act in furtherance of a conspiracy.

       113.    REHL is accused of

                  c. Obtaining paramilitary gear and supplies-including
                  concealed tactical vests, protective equipment, and radio
                  equipment-for the January 6 attack.

       114.    The government should be ordered to identify by a bill of particulars which of

these overt acts the government alleges were for these Defendants to defend themselves and

hundreds of thousands of defenseless Trump supporters against persistent and recurring attacks

from violent, savage gangs of ANTIFA thugs, like ANTIFA wolves attacking a huge flock of

vulnerable sheep on January 6, 2021, as opposed to preparing to attack the U.S. Capitol.

       115.    If the government has no facts that these purely defensive preparations were



                                               18
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 19 of 21




intended by REHL for attacking the U.S. Capitol, professional ethics require the prosecutors to

terminate the case against REHL.

       116.    REHL is accused of

                  j. Obtaining entry into the Capitol building as a result of
                  damage to windows and doors that otherwise would have
                  precluded entry.

       117.    The indictment does not allege that any of the Defendants, much less REHL, had

any reason to know why the doors were already wide open when REHL followed hundreds of

others who had already entered the building of a normally-public building which is routinely

used for school tours, and has not one (1) but two (2) gift shops in the main building and public

viewing galleries for the public to watch Congress IN SESSION (not to look at an empty room)

were. (That is shown in the photographic stills of videos used by the government as attachments

in issuing search warrants to various social media companies.)

       118.    The government should be ordered to explain by a bill of particulars how walking

into an open door that someone else opened is an overt act in furtherance of a conspiracy, and to

what extent these Defendants knew how the doors got opened.

       119.    REHL is accused of

                  38. On December 30, 2020, REHL posted a link to an
                  online fundraiser with the campaign name of "Travel
                  Expenses for upcoming Patriot Events." The campaign
                  generated over $5,500 in donations between December
                  30, 2020, and January 4, 2021.

       120.    Once again, following the reasoning of Judge Mehta, REHL is entitled to

clarification of WHICH “upcoming Patriot Events” he is accused of raising funds for.

       121.    The grand jury did not allege REHL of raising the funds, but only posting a link.

       122.    So did someone else’s fund-raising campaign for these Patriot Events say “We are

going to attack the Capitol and beat on police. Help us with expenses?”


                                                19
       Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 20 of 21




       123.    A bill of particulars is required as to (a) whose fundraiser campaign this was, and

(b) which “upcoming Patriot Events” the grand jury thinks the funds were being raised for.

       124.    Finally REHL is accused of owning and using radios.

       125.    A bill of particulars is required as to how behavior common to large sporting

events for people to communicate with each other in large crowds is an act in furtherance of a

conspiracy, when that same act is routinely engaged in by U.S. citizens.

IV.    CONCLUSION

       The prosecution should be ordered to provide a bill of particulars as specified above.

Dated: September 25, 2021             RESPECTFULLY SUBMITTED


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                                CERTIFICATE OF SERVICE

         I hereby certify that on September 25, 2021, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participant(s), and also mailed a copy to the following by first
class U.S. mail, postage prepaid, one single copy to the prosecution for distribution internally to
all counsel involved for the proseuction. From my review of the PACER / ECF docket records
for this case that the following attorneys will receive notice through the ECF system of the U.S.
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                                                20
Case 1:21-cr-00175-TJK Document 184-2 Filed 09/25/21 Page 21 of 21




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                                21
